                   EXHIBIT 13




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                                                                                                            Stopping the clock
                                                                                                                       on crop disease




DuPont™ Aproach® Prima fungicide combines multiple active ingredients to effectively stop pathogens and prevent the spread of
disease. The result is a healthier corn crop that can deliver higher yield potential and increased revenue per acre.

Key benefits                                                                                                   Four Movement Properties
• Better movement. Complete protection. Aproach Prima fungicide quickly surrounds the                          quickly surround, penetrate and
  surface of the plant, is rapidly absorbed and then moves throughout, providing full protection                  protect leaves and stems
  of each leaf and stem — even those that have yet to emerge. Aproach Prima fungicide also
  helps protect leaf surfaces near the soil to control diseases where many pathogens originate.
• Faster uptake. Flexible application. Uptake of Aproach Prima fungicide occurs on day                                   Translaminar Movement
  one, nearly twice as fast as the next leading competitor. It’s rainfast within an hour for a more                      Moves through the leaf
  flexible application.                                                                                                  surface to protect top
• More green leaf area. Improved quality. Aproach Prima fungicide improves green leaf area                               and bottom of the leaf
  and chlorophyll production late into the season for stronger, more productive plants.
• Long-lasting residual. Extended disease control. With differentiated modes of action,
  Aproach Prima helps stop the spread of infection, prevent new infection for up to 21 days
  after treatment and slow disease development.
                                                                                                                         Xylem Systemic Activity
                                                                                                                         Moves through plant
Restrictions                                                                                                             tissues to distribute
• PHI: grain and ear - 30 days | silage - 21 days                                                                        throughout the leaf
• Minimum Treatment Interval: 7 days
  »» Do not exceed 6.8 fluid ounces of product per acre per year
• Maximum Number of Applications:
  »» Do not exceed two applications of product per year
                                                                                                                         Surface Redistribution
Table 1. Aproach® Prima fungicide for disease control in corn                                                            Protective barrier moves
                                                             Rate                                                        over the leaf surface
 Disease Control                                                           Treatment Instructions
                                                           (fl oz/A)
 Anthracnose leaf blight     Northern cornleaf spot

 Anthracnose stalk rot       Physoderma brown spot

 Eye spot                    Common rust
                                                                                                                         Wax Diffusion Activity
                                                                       Do not exceed 6.8 fl oz of product
                                                                6.8                                                      More consistent
                                                                               per acre per year
 Gray leaf spot              Southern rust                                                                               coverage across leaf
 Leaf spots                  Southern corn leaf blight
                                                                                                                         and stem surface

 Northern corn leaf blight   Yellow leaf blight




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       Aproach® Prima                                                                                                                                                                                                                     FUNGICIDE


Control of Foliar Corn Diseases – 2018                                                                                          Control of Foliar Corn Diseases – 2018
Applied at VT-R3.                                                                                                               Applied at VT-R3.




                             190                                                                                                                        174.1
                                                                                                                                                                              170.4
                                                         180.5
                                                                                                                                                                                                       166.4
  Yield (bu/A)




                                                                                                                                  Yield (bu/A)
                                                                                          DuPont™                                                                                                                                          Aproach Prima
                                                                                                                                                                                                                                           6.8 oz
                                                                                          Aproach® Prima
                                                                                          6.8 oz                                                                                                                                           Headline Amp
                                                                                                                                                                                                                                           10 oz
                                                                                          Untreated
                                                                                                                                                                                                                                           Untreated
                                                                                          check
                                                                                                                                                                                                                                           check
   100


                 Data represent the average of 6 locations: AR, OH, MO, IL, KS                                                                   Data represent the average of 4 locations: OH, MO, IL




Control of Foliar Corn Diseases – 2018
Applied at VT-R3.




                          218.8                      219.7
                                                                                 214.2                          212.3
Yield (bu/A)




                                                                                                                                                                Aproach Prima
                                                                                                                                                                6.8 oz

                                                                                                                                                                Trivapro
                                                                                                                                                                13.7 oz

                                                                                                                                                                Headline Amp
                                                                                                                                                                10 oz

                                                                                                                                                                Untreated
                                                                                                                                                                check

                        Data represent the average of 6 locations: AR, OH, IL




                                                                                                                                                                                                                             Visit us at corteva.us
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                                                                                      contain important precautions, directions for use, and product warranty and liability limitations, which must be read before using the product(s).
                                                                                 Applicators must be in possession of the product label(s) at the time of application. Always read and follow all label direction and precautions for use
                                                                                  when using any pesticide alone or in tank-mix combinations. Aproach Prima is not registered for sale or use in all states. Contact your state pesticide regulatory agency to
                                                                                                                 determine if a product is registered for sale or use in your state. Always read and follow label directions. ©2019 Corteva CA01-601-028    COR (07/19)



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